           Case 2:98-cv-00784-TLN-JDP Document 372 Filed 06/21/24 Page 1 of 2


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 5
                                UNITED STATES DISTRICT COURT
 6
                               EASTERN DISTRICT OF CALIFORNIA
 7
                                         SACRAMENTO DIVISION
 8

 9   GARY DALE HINES,                               )   Case No. 2:98-cv-00784-TLN-JDP (DP)
                                                    )
10
                           Petitioner,              )   DEATH PENALTY CASE
11                                                  )
            vs.                                     )   [PROPOSED] ORDER RE APPLICATION
12                                                  )   FOR EXTENSION OF TIME
                                                    )
13
     MICHAEL MARTEL, Warden of the                  )
14   California State Prison at San Quentin,        )
                                                    )
15                         Respondent.              )
16
                                                    )
                                                    )
17

18          Petitioner, through counsel, seeks an extension of time of an additional 25 days to

19   respond to the Magistrate Judge’s Findings and Recommendations (Document 368) filed on
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     February 23, 2024. Petitioner’s response is currently due on June 24, 2024.
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            Good cause appearing, Petitioner’s application for an extension of time within which to
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     file his response is GRANTED. Petitioner’s response shall be filed no later than July 19, 2024.

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                       Gary Hines v. Michael Martel; Case No. 2:98-cv-00784-TLN-JDP
                      [PROPOSED] Order Re Petitioner’s Request for Extension of Time
        Case 2:98-cv-00784-TLN-JDP Document 372 Filed 06/21/24 Page 2 of 2


 1
         IT IS SO ORDERED.
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 3
         Dated:     June 21, 2024
 4                                                          JEREMY D. PETERSON
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                                                       UNITED STATES MAGISTRATE JUDGE

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                     Gary Hines v. Michael Martel; Case No. 2:98-cv-00784-TLN-JDP
     Petitioner’s Request for Extension of Time to File Objections to Findings and Recommendations of
                   Magistrate Judge (Dkt. 368]; Declaration of Counsel In Support Thereof
